          Case 1:19-cr-10040-JTF Document 287 Filed 03/31/23 Page 1 of 5                                                                       PageID 4036
AO 187 (Rev. 7/87) Exhibit and Witness List



                                             UNITED STATES DISTRICT COURT
                                                        WESTERN                  DISTRICT OF                    TENNESSEE



          UNITED STATES OF AMERICA
                                                                                                              EXHIBIT AND WITNESS LIST
                     V.
            JEFFREY W. YOUNG, JR.                                                                                    Case Number: 1:19-cr-10040-001

            PRESIDING JUDGE                                                       PLAINTIFF’S ATTORNEY                                  DEFENDANT’S ATTORNEY
                                                                                          Katherine Payerle, Andrew
                        JOHN T. FOWLKES, JR.                                                                                            Claiborne H. Ferguson, Ramon Damas
                                                                                                 Pennebaker
           HEARING DATE(S):                                                       COURT REPORTER                                        COURTROOM DEPUTY
                                March 23, 2023                                      Lashawn Marshall & Tina Gibson                                      Ross Herrin
PLF.    DEF.       DATE
                                    SWORN         MARKED         ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.     NO.       OFFERED

  √             03/28/2023              √

  1             03/28/2023                             √               √         Text Message Chain

  2             03/28/2023                             √               √         Photo – Mr. Young’s Office

  3             03/28/2023                             √               √         Text Message

  4             03/28/2023                             √               √         1 Page – Face Book Excerpt

  5             03/28/2023                             √               √         7 Page Text Message Chain

  6             03/28/2023                             √               √         Email from Pharmacy Manager to Richard Denton

  √             03/28/2023              √              √               √         Kristie Gutgsell

  7             03/28/2023                             √               √         11 – Photos PreventaGenix

  8             03/28/2023                             √               √         Master Appointment List

  9             03/28/2023                             √               √         Clinic Floor Plan

 10             03/28/2023                             √               √         Ben Elston Patient File

 11             03/28/2023                             √               √         Advertisement

 12             03/28/2023                             √               √         Digital Video Disc – RockDoc Video Trailer

 13             03/28/2023                             √               √         Text Message Chain

 14             03/28/2023                             √               √         7 Pages - Text Message Chain

 15             03/28/2023                             √               √         9 Pages – Email Chain From: Kristie Gutgsell, To: Andrew Rudin

 16             03/28/2023                             √               √         1 Page - Text Message

 17             03/28/2023                             √               √         4 Pages - Text Messages

 18             03/28/2023                             √               √         Letter from Humana 12/22/2016

 19             03/28/2023                             √               √         Digital Video Disc – Haters Video
           * Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                                 Page 1 of       Pages
        Case 1:19-cr-10040-JTF Document 287 Filed 03/31/23 Page 2 of 5                                           PageID 4037

         AO 187A (Rev. 7/87)             EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                          CASE NO.
            UNITED STATES OF AMERICA               vs.           JEFFREY W. YOUNG, JR.                               1:19-cr-10040-001
PLF.   DEF.     DATE
                           SWORN   MARKED   ADMITTED                                DESCRIPTION OF EXHIBITS AND WITNESSES
NO.    NO.     OFFERED

20            03/28/2023             √         √         Face Book Message Post

 √            03/28/2023       √                         Hope Rogers

21            03/28/2023             √         √         Intake Information Form

22            03/28/2023             √         √         Copies of Prescriptions

23            03/28/2023             √         √         Hope Rogers Agreement - CSMD/FB Summary

       24     03/28/2023             √         √         Hospital Photo – Hope Rogers & Child

 √            03/28/2023             √         √         Daniel Rogers

25            03/28/2023             √         √         Patient Records – Andy Azbill

 √            03/28/2023       √                         Katie (Scott) Tripp

26            03/28/2023             √         √         Prescription – Dated 05/04/2016

27            03/28/2023             √         √         Face Book - Messages

28            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

29            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

30            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

31            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

32            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

33            03/28/2023             √         √         Digital Video Disc – Video of Dr. Office Visit

34            03/28/2023             √         √         Prescription dated 06/07/2016

35            03/28/2023             √         √         Prescription dated 07/12/2023

36            03/28/2023             √         √         Prescription dated 08/16/2023

37            03/28/2023             √         √         Prescription dated 09/13/2016

38            03/29/2023                                 Prescription dated 10/11/2016

39            03/29/2023                                 Prescription dated 10/11/2016

 √            03/29/2023       √                         Dr. Alexander Alperovich

       40     03/29/2023             √         √         Letter Terminating Preceptorship by Dr. Alperovich

 √            03/29/2023       √                         Tricia Stansell


                                                                                                          Page   2     of        Pages
        Case 1:19-cr-10040-JTF Document 287 Filed 03/31/23 Page 3 of 5                                         PageID 4038

         AO 187A (Rev. 7/87)             EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                        CASE NO.
          UNITED STATES OF AMERICA                 vs.          JEFFREY W. YOUNG, JR.                                1:19-cr-10040-001
PLF.   DEF.     DATE
                           SWORN   MARKED   ADMITTED                                DESCRIPTION OF EXHIBITS AND WITNESSES
NO.    NO.     OFFERED

 √            03/29/2023       √                         Natalie Seabolt – Consultant

41            03/29/2023             √         √         CSMD – Report: January 1st, 2015 – January 14th, 2015

42            03/29/2023             √         √         Heat Map – Home Address Location of Patients

43            03/29/2023             √         √         TennCare Top Count Summary

44            03/29/2023             √         √         TennCare Patient Age Chart

45            03/29/2023             √         √         2 Pages – Percentage of Female & Male – Controlled Substances

46            03/29/2023             √         √         Male & Female Age Chart – Controlled Substances

47            03/29/2023             √         √         Prescribed Controlled Substances Over Time

 √            03/29/2023       √                         Shirley Pickering

48            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

49            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

50            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

51            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

52            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

53            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

54            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

55            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

56            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

57            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

58            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

59            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

60            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

61            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

62            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

63            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

64            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering


                                                                                                        Page     3     of        Pages
        Case 1:19-cr-10040-JTF Document 287 Filed 03/31/23 Page 4 of 5                                         PageID 4039

         AO 187A (Rev. 7/87)             EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                        CASE NO.
            UNITED STATES OF AMERICA               vs.          JEFFREY W. YOUNG, JR.                               1:19-cr-10040-001
PLF.   DEF.     DATE
                           SWORN   MARKED   ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
NO.    NO.     OFFERED

65            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

66            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

67            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

68            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

69            03/29/2023             √         √         Compact Disc – Interview of Jeffrey Young by Shirley Pickering

 √            03/29/2023                                 Spc. Agt. Kristina St. Laurent - TBI

70            03/29/2023             √         √         MRI Report – Christiana Norton (aka Laurent)

71            03/29/2023             √         √         Mill’s Family Pharmacy – Receipt

       72     03/29/2023             √         √         Intake Form & Opioid Contract

73            03/29/2023             √         √         Compact Disc – Office Visit - Christiana Norton (aka Laurent)

 √            03/29/2023       √                         Spc. Agt. Demarcus Scales - TBI

74            03/29/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Adrian McKenzie

75            03/29/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Courtney Howell

76            03/29/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Storey / Morris / Williams

77            03/29/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Daphne Joyner Montoya

78            03/29/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Amy Sanders

79            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Whitney Henly

80            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Christina (Tina) Powers

81            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Shantell Davis

82            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Tiffany Webb

83            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Ben Elston

84            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Jay Green

85            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Will Stone

86            03/30/2023             √         √         Text Message & CSMD Summary – Lydia Spencer

87            03/30/2023             √         √         CSMD /SMS/MMS/FB Message Summary – Keith Moffatt

88            03/30/2023             √         √         Text Message Exchange – Scott Bartlett


                                                                                                        Page    4        of     Pages
        Case 1:19-cr-10040-JTF Document 287 Filed 03/31/23 Page 5 of 5                                             PageID 4040

         AO 187A (Rev. 7/87)             EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                            CASE NO.
            UNITED STATES OF AMERICA               vs.          JEFFREY W. YOUNG, JR.                                  1:19-cr-10040-001
PLF.   DEF.     DATE
                           SWORN   MARKED   ADMITTED                                   DESCRIPTION OF EXHIBITS AND WITNESSES
NO.    NO.     OFFERED

89            03/30/2023             √         √         SMS/PMP Message Summary – Doug Keeton

90            03/30/2023             √         √         SMS/PMP Message Summary – Chad Newsom

91            03/30/2023             √         √         Patient File Chart & PMP Comparison – Chad Newsom

92            03/30/2023             √         √         SCMD/FB – Hope Rogers

       93     03/30/2023             √         √         PMP – Amy Sanders

       94     03/30/2023             √         √         CSMD – Cyndal Storey

       95     03/30/2023             √         √         PMP – Ben Elston

       96     03/30/2023             √         √         Stipulation of Parties as to November 2016 Video

       97     03/30/2023             √         √         Digital Video Disc - Video of Dr. Office Visit -

 √            03/30/2023       √                         Dr. Tricia Aultman

98            03/30/2023             √         √         Patient File – Aaron Beaver

99            03/30/2023             √         √         Patient File – Katie Crowder

       100    03/30/2023                                 Patient File – Daphne Montoya

       101    03/30/2023                                 Patient File – Hope Rogers

                                                                                s/Ross Herrin D.C.    March 30, 2023




                                                                                                            Page   5     of        Pages
